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PROB 12B
(PAWP 4/16)
UNITED STATES DISTRICT COURT
for the
WESTERN DISTRICT OF PENNSYLVANIA
Request for Modifying the Conditions or Term of Supervision
with Consent of the Offender
(Probation Form 49, Waiver of Hearing is Attached)
Offender: Landon Claybourne Docket No.2:10CRO00187
Sentencing Judge: Donetta W. Ambrose, Senior United States District Judge

Date of Original Sentence: August 14, 2012

Original Offense: Conspiracy to distribute and possess with intent to distribute at least 80 grams but less than 100 grams of
a mixture and substance containing a detectable amount of heroin.

Original Sentence: 41 months of imprisonment; 36 months of supervised release

Special conditions: Special Assessment, DNA testing, Drug Treatment, Substance Abuse Testing, Alcohol Restrictions,
Alcohol Treatment, Search/Seizure, Location Monitoring Program

Type of Supervision: Supervised Release Date Supervision Commenced: October 11, 2013

Prior Court History: 04/25/16: Order; Modification of conditions requiring a 90 day term of home detention with GPS and

exclusion zone(s). No contact with victim of pending state court case.

PETITITIONING THE COURT
& To modify the conditions of supervision as follows:

The defendant shall serve the balance of the previously imposed 90 day term of home detention with GPS monitoring, however the
home detention component shall be removed. The defendant will remain on GPS monitoring with exclusion zone(s) as determined by
the Probation Officer, which will include the residence of Precious Hudson. The defendant shall have no contact with Precious
Hudson.

CAUSE

On April 25, 2016, the Court granted an order on Request for Modifying the Conditions or Term of Supervision with Consent of the
Offender, which required that the defendant be placed on a 90 day term of home detention with GPS monitoring and exclusion zone(s)
as determined by the Probation Officer. Additionally, it was ordered that the defendant have no contact with Precious Hudson, the
alleged victim of the state court charges of Burglary and Simple Assault at OTN: G740324-4.

Although the aforementioned charges were dismissed on May 3, 2016, it is noted that this is the defendant’s second arrest, in less than
one year’s time, involving charges of a domestic nature with regard to Precious Hudson. According to the police reports, both
incidents occurred at her apartment. The defendant has signed a Prob 49 — Waiver of Hearing agreeing to this proposed modification.
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Offender: Landon Claybourne
Docket No.2:10CRO0187

THE COURT ORDERS:
0) No Action
©) The extension of supervision as noted above.

OD The Modification of conditions as noted above
OC Other

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I declare under penalty of perjury that the foregoing is true
and correct.

Respectfully Submitted

By:

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wo Danko
*S. Probation Officer
Approved By: Se eo”

Tara Kessler €
Supervisory U.S. Probation Officer
Date: 5/26/2016

Donetta W. Ambrose, Senior United States District Judge

Date
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PROB 49
(3/89)

United States District Court

Western District of Pennsylvania

Waiver of Hearing to Modify Conditions
of Probation/Supervised Release or Extend Term of Supervision

I have been advised and understand that I am entitled by law to a hearing and assistance of
counsel before any unfavorable change may be made in my Conditions of Probation and Supervised
Release or my period of supervision being extended. By “assistance of counsel,” I understand that I
have the right to be represented at the hearing by counsel of my own choosing if I am able to retain
counsel. I also understand that I have the right to request the court to appoint counsel to represent me
at such a hearing at no cost to myself if I am not able to retain counsel of my own choosing.

I hereby voluntarily waive my statutory nght to a hearing and to assistance of counsel. I also
agree to the following modification of my Conditions of Probation and Supervised Release or to the
proposed extension of my term of supervision:

The defendant shall serve the balance of the previously imposed 90 day term of home detention
with GPS monitoring, however the home detention component shall be removed. The defendant
will remain on GPS monitoring with exclusion zone(s) as determined by the Probation Officer,
which will include the residence of Precious Hudson. The defendant shall have no contact with
Precious Hudson.

Signed:

. anko, David Landon Claybourne

Nited States Probation Officer Probationer or Supervised Releasee

Witness:

5/26/2016
Date

